                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


ONSOMBLE, INC.                                )
                                              )
v.                                            ) NO. 3-16-493
                                              ) JUDGE CAMPBELL
MARIA O’ROURKE                                )


                                              ORDER

       Pending before the Court is Defendant’s Motion to Transfer (Docket No. 14). For the

reasons stated in the accompanying Memorandum, Defendant’s Motion is GRANTED, and this

action is transferred to the United States District Court for the Northern District of California.

       Any other pending Motions are denied as moot, and the Clerk is directed to close the file.

       IT IS SO ORDERED.


                                                      ___________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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